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                               Exhibit 1
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Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 3 of 27 PageID #:20
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 4 of 27 PageID #:21
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 5 of 27 PageID #:22
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 6 of 27 PageID #:23
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 7 of 27 PageID #:24
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 8 of 27 PageID #:25
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 9 of 27 PageID #:26
Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 10 of 27 PageID #:27
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Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 21 of 27 PageID #:38
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Case: 1:24-cv-02151 Document #: 1-1 Filed: 03/14/24 Page 26 of 27 PageID #:43
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